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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                     *
                                           *       CASE NO. 17-31646
MONTCO OFFSHORE, INC., et al.,             *
                                           *       Chapter 11
              DEBTORS.                     *
                                           *       (Jointly Administered)
                                           *

    ALLIANCE ENERGY SERVICES, LLC’S AND ALLIANCE OFFSHORE, LLC’S
        OBJECTION TO DEBTORS’ EMERGENCY MOTION TO APPROVE
        BIDDING PROCEDURES AND SALE AND EMERGENCY MOTION
       TO APPOINT CHAPTER 11 TRUSTEE OR CONVERT TO CHAPTER 7
                          [Related to Doc. 637]

       Alliance Energy Services, LLC and Alliance Offshore, LLC (collectively, “Alliance”)

respectfully object to the Motion For Sale of Purchased Assets; Emergency Motion of Debtor

Montco Offshore, Inc. for an Order (I) Approving (A) Bidding Procedures Governing Submission

and Consideration of Competing Transactions, (B) Bid Protections, (C) Form and Manner of

Notice of Sale Transactions and Sale Hearing, and (D) Assumption and Assignment Procedures

for Any Transferred Contracts; (II) (A) Scheduling and Authorizing Debtor to Conduct an Auction

Pursuant to the Bidding Procedures, and (B) Authorizing Debtor to Enter into the Purchase

Agreement to Implement the Bidding Protections; (III) Authorizing (A) the Sale of the Purchased

Assets Free and Clear of All Liens, Claims, Encumbrances, and Other Interests, and (B) the

Assumption and Assignment of Any Transferred Contracts; and (IV) Granting Related Relief Free

and Clear of Liens as Described in Section 363(f) (“Sales Motion”) filed by Montco Offshore,

Inc.(“MOI”) and Montco Oilfield Contractors, LLC (“MOC”) (collectively “Debtors”) as follows:




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Emergency Hearing Should Not Be Granted

1.     Yet again, the Debtors have filed an emergency motion seeking transformative relief on

short notice. The Debtors filed the Sales Motion on November 24, 2017, the Friday of the

Thanksgiving weekend. The Sales Motion advised that a December 4, 2017 hearing date was

requested. However, as of this date, no order or notice has been issued that this Court granted the

request for an expedited hearing.    To the extent that the Motion is set on December 4, 2017,

Alliance objects to the emergency setting of the motion, particularly in light of the circumstances

of this case as explained below.

Debtors’ Misrepresentations to the Court

2.     In the Sales Motion, the Debtors advised the Court that they no longer intend to pursue

confirmation of their Plan and instead intend to sell their assets in less than two weeks to Falcon

Global USA LLC (the entity that was to own the Debtors’ vessels under the Plan) for the amount

of the secured debt (Falcon Global USA LLC intends to credit bid the secured lender’s debt). In

justifying their decision to engage in the conduct described in the Sales Motion, the Debtors allege

“….that following the Court’s decision on estimating the maritime liens, MOI continued

discussions with key constituencies, including certain holders of the Asserted Maritime Lien

Claims…regarding MOI’s options for a path forward.” This statement is false. The Debtors did

not have any communications with any of the four holders of the Asserted Maritime Lien Claims

who were parties to the Motion to Estimate regarding its Plan (and whose claims constitute the

majority of the maritime lien claims), and upon information and belief, did not communicate with

the other holders of significant maritime lien claims regarding its Plan. UCC Counsel has

confirmed that he has not had any discussions with the Debtors regarding the Plan since the Court’s

ruling on the estimation motion.



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3.     The Debtors misrepresentations to the Court are also contained in the pleadings it has filed

over the last three weeks:

       In Debtors’ Emergency Motion for Entry of an Order Continuing the Confirmation
       Hearing filed on November 9, 2017 [Dk 585], the Debtors stated that they required
       additional time to confer with key constituencies to seek consensual changes to the
       Plan.

       On November 13, 2017, the Debtors filed a motion to extend the exclusive period
       through December 13, 2017 explaining:

            In connection with the Plan process and leading up to confirmation, the
            Debtors are continuing to engage with additional key stakeholders to
            address outstanding issues and seek to reach a consensual resolution on a
            path forward. The Debtors need all of their and their professionals’
            resources focused on reaching such a resolution. As such, the Debtors
            seek the relief requested herein to ensure that no competing plan is filed at
            this critical juncture, which would only distract the Debtors and divert
            resources away from confirmation-related matters. Reviewing and
            potentially objecting to a competing plan while negotiating issues related
            to confirmation of the Debtors’ Plan is not in any stakeholder’s interests,
            and would only be detrimental to the outcome of these cases. [Dk. 605, p.
            7]

       The Debtors requested that the Court extend exclusivity “to ensure that no estate
       resources need to be shifted toward the review of (and potential objections to) a
       competing plan while the Debtors continue discussions with key constituencies
       about confirmation of the Debtors’ as-filed Plan.” [Dk. 605, p. 5]
       On November 15, 2017, the Debtors filed a second motion to extend the
       confirmation hearing again representing to the Court that they needed the time “to
       reach a consensual resolution to the currently contested issues related to the Plan.”
       [Dk. 615, p. 6]

Again, the Debtors have not communicated with the maritime lien claimants or the UCC. The

Debtors claims that they were working on the Plan (and had to conserve resources so that they

could only work on the Plan) were plainly false.

4.     On November 29, 2017, Alliance issued discovery to the Debtors concerning the Sales

Motion, including this interrogatory:

       With respect to the statement in the Sales Motion “….that following the Court’s
       decision on estimating the maritime liens, MOI continued discussions with key

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       constituencies, including certain holders of the Asserted Maritime Lien
       Claims…regarding MOI’s options for a path forward”, please identify (i) each “key
       constituent” with who you had such discussions and the date, time, and substance
       of any such discussions, and (ii) each “holder of the Asserted Maritime Lien
       Claims” with who you had such discussions and the date, time, and substance of
       any such discussions.


The return date on the discovery was the earlier of 72 hours prior to the hearing on the Sales Motion

(if the hearing on the Sales Motion is conducted on December 4, 2017 then the deadline to respond

is December 1, 2017) or 10 days from issuance. The emails between counsel for Alliance and the

Debtors on this issue and the ongoing refusal of the Debtors to produce documents from Mr.

Orgeron and Mr. Boudreaux in response to Alliance’s prior discovery requests are attached hereto

as Exhibit A. Alliance requests that this Court require that the Debtors provide a full account of

their representations to this Court and the creditors in this case.

5.     Why was the Debtor working on the Sales Motion when it told the Court it was working

on the Plan? Why would the Debtors make these false representations? Why would the Debtors

not have attempted to rectify the issues in its Plan and instead filed the Sales Motion? Alliance

can only assume, that like their other actions in this case, the Debtors focus is protecting Mr.

Orgeron.

6.     What benefits will Mr. Orgeron receive from the transaction proposed in the Sales Motion?

The Sales Motion includes only the crafted statement that “[u]nlike the Prior Proposed

Transaction, under the Proposed Transaction, existing equity will not receive any percentage of

the interest in the buyer.” Sales Motion, p. 15. In an attempt to ascertain the motivation behind

the Debtors’ actions, Alliance included the following two interrogatories in its discovery requests:

       1.      Please state whether Mr. Lee Orgeron owns or will own any interest of any
       kind in Falcon. If so, please fully describe the nature of any such interest.

       2.      Please state whether Mr. Lee Orgeron, Mr. Derek Boudreaux, or any person
       related to Mr. Orgeron and/or Mr. Boudreaux is or will be employed by Falcon

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         and/or have any business relationship of any kind with Falcon. If so, please identify
         the individual(s) and fully describe the terms of such employment and/or the
         business relationship.

The Debtors and Mr. Orgeron should be made to honestly answer these questions before the Court.

Mr. Orgeron and those who may be assisting him with any such endeavor should be admonished

that should he surface later with an undisclosed interest or relationship of any kind that he will be

subject to charges of bankruptcy fraud and other claims. Even if disclosed, Mr. Orgeron cannot

receive a “gift” from Seacor or Falcon. See Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 981,

197 L. Ed. 2d 398 (2017). This consideration must be preserved for the benefit of the estate and

not Mr. Orgeron personally.

7.       Alliance’s discovery requests further sought the production of documents concerning the

Sales Motion and the Plan to further determine the true nature of the transaction. 1 As reflected by

the emails attached as Exhibit A, the Debtors have not agreed to produce these documents prior to

the December 4, 2017 hearing on the Sales Motion.

The Debtors Have Destroyed Any Prospect For A Valid Marketing Process

8.       In justifying its two week sales process proposed in the Sales Motion, the Debtors seek to

convince the Court that they have previously sought to market the Debtors’ vessels through the


1
  Alliance’s discovery requests sought the following:
1. All documents and correspondence by or between Debtors, SEACOR, Falcon, the Bank Group, and/or Houlihan
regarding the Plan or the Disclosure Statement.
2. All documents and correspondence by or between Debtors, SEACOR, Falcon, the Bank Group, and/or Houlihan
regarding the Sales Motion or the proposed sale to Falcon identified in the Sales Motion.
3. All documents and correspondence by or between Debtors, SEACOR, Falcon, the Bank Group, and/or Houlihan
regarding any Alternative Transaction.
4. All documents and correspondence by or between Debtors and any creditor or vendor since October 1, 2017
regarding the Debtors’ proposal to pay any such creditor or vendor all part of its prepetition claim as a critical vendor.
5. All documents and correspondence by or between Debtors and the Committee regarding the Plan, the Disclosure
Statement, the Sales Motion, and/or the proposed sale to Falcon identified in the Sales Motion.
6. All documents and correspondence by or between Debtors and any Maritime Lien Claimant regarding the Plan, the
Disclosure Statement, the Sales Motion, and/or the proposed sale to Falcon identified in the Sales Motion.
7. All documents reflecting or relating to the termination of the JV Agreement (as defined in the Plan) as alleged in
the Sales Motion.


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“stalking horse auction.” Alliance and others strenuously objected to the Debtors’ stalking horse

motion and Alliance incorporates its objection herein. [Dk. 322] This Court will recall that in the

Debtors’ motion to approve the stalking horse bidding procedures, the Debtors required that a party

who wanted to bid to be the “plan sponsor” had to submit an offer of (1) the total consideration to

the Debtor set forth in the Term Sheet, plus (2) the Break-Up Fee, and (3) the Expense

Reimbursement, plus (4) $500,000. Of course no bidder could possibly submit a bid because the

Seacor term sheet was so convoluted, did not include a value of the transaction to the Debtor, and

included numerous provisions to benefit Mr. Orgeron personally that no other bidder could

replicate. Moreover, why would any bidder participate in a “stalking horse auction” where it had

no assurance of how or when it would be able to close (and be subject to a higher bid or debtor

withdrawal later)? Alliance found no case where a Court had approved such a process and the

Debtors financial advisor was unable to identify a case approving of such a process.

9.     In response to the objections filed by Alliance and others, this Court forced the reluctant

Debtors to make some changes to allow cash bids. However, the Debtors refused to change the

provision in the bidding procedures that required that bidders close by October 30, 2017, even

though Seacor, who had been in discussions with the Debtors since February of 2017, had until

December 31, 2017 to close. The Debtors offered no explanation as to why bidders would have

two fewer months to close than Seacor. The Debtors were still merely auctioning the “plan

sponsor” position and probably could not have confirmed a plan by October 30, 2017 even if a

party had been interested in such a position (with no stalking horse protections). Further, the

revised stalking horse bidding procedures that were approved by the Court required that qualified

bids be posted by August 24, 2017. The Order approving the procedures was entered on August

10, 2017. So bidders had only two weeks to submit a bid. The Debtors clearly did not want to



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receive bids for their assets because it would mean that Mr. Orgeron would have to give up his

equity and the numerous perks of the Seacor bid. Indeed, the Debtors’ financial advisor admitted

at the estimation hearing that the joint venture proposal “cleared the decks” of other potential

bidders. Interested parties were not going to spend the time and money involved in assessing an

acquisition of this size under these circumstances.

10.    Nonetheless, despite that the Debtors’ engineered a process that was designed to fail, the

Debtors then used that process to “poor mouth” the value of their own vessels. In attempting to

establish that the maritime lien claimants were not secured, the Debtors stated in writing in

pleadings filed in this Court that its own vessels were worth less than $116 million. Debtors’

financial advisor testified to the alleged lack of interest of potential buyers in the stalking horse

auction process. The Debtors used their own deeply flawed “stalking horse” auction to establish

that Seacor was paying too much. Sadly, the Debtors “evidence” was barely relevant to the value

issue under section 506(a) which was the value of the vessels in the hands of the joint venture.

Given that Seacor owns all of the other large lift boats but one operating in the Gulf of Mexico,

the section 506(a) value was much higher than even then $246,310,000 value contained in the

Debtors’ January 2017 appraisals for the vessels. This explains why the Debtors refused to include

projections in its Disclosure Statement and Plan.      While the Sales Motion does not disclose

whether the Debtors or Seacor abandoned the Joint Venture Agreement, Seacor presumably saw

an opportunity to obtain the assets for less than the $163,359,700 value provided for the vessels in

the Joint Venture Agreement. For some reason, the Debtors did not resist the Seacor exit from the

Joint Venture Agreement.

11.    In the Sales Motion and under the alleged emergency that it created, the Debtors now

propose a last minute auction with bids of a minimum of $136,132,264.94 due on December 14,



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2017, 10 days from the December 4, 2017 hearing. Like its prior marketing efforts, the Debtors

have assured that no one will participate. However, even with more time, it is unlikely that any

party would spend the resources to investigate the assets so as to compete with the Falcon bid

which is clearly tied to Mr. Orgeron and the secured lender.

Collusion With The Lender

12.    This Court will recall the concerns raised by the objectors to the stalking horse auction

process that the proposed procedures did not provide a mechanism for a potential bidder to engage

with the secured lender. Since under the Falcon-Debtor joint venture arrangement the secured

lender’s debt was going to be assumed by Falcon, any party wishing to propose a similar joint

venture would have been required to discuss terms with the lender. The Court required that the

Debtors insert a provision in the procedures that the Debtors would attempt to coordinate such

contact if requested to do so.

13.    The Sales Motion now provides that “it is contemplated that the First Lien Agent and

Lenders will support the Stalking Horse on terms and conditions that will be set forth in a claims

assignment agreement.” Sales Motion, p. 14. The Sales Motion provides that Falcon will credit

bid the secured lender’s claim. This Court should reject this proposed collusion between two

potential bidders. As evidenced by the terms of the Sales Motion and the Joint Venture Agreement,

this collusion has already damaged the value of the Debtors’ assets by setting the price Falcon

proposes to pay.

14.    The secured lender is clearly a potential bidder for the Debtors’ assets. The Debtors have

already identified Seacor as the strategic bidder for its assets. By colluding, Seacor-Falcon’s price

became the secured lender’s credit bid amount. 11 U.S.C. §363(n) provides as follows:

       [t]he trustee may avoid a [§ 363 sale] if the sale price was controlled by an
       agreement among potential bidders at such sale, or may recover from a party to

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       such agreement any amount by which the value of the property sold exceeds the
       price at which such sale was consummated, and may recover any costs, attorneys’
       fees, or expenses incurred in avoiding such sale or recovering such amount. In
       addition to any recovery under the preceding sentence, the court may grant
       judgment for punitive damages in favor of the estate and against any such party that
       entered into such an agreement in willful disregard of this subsection.
Section 363(n) requires that: (1) there must be an agreement; (2) between potential bidders; (3)

that controlled the price at bidding.” In re Sanner, 218 B.R. 941, 944 (Bankr. D. Ariz. 1998). “An

agreement proscribed by section 363(n) need not be an explicit written agreement, but may be an

oral agreement to collude or an agreement inferred from the behavior of the parties or the

circumstances.” In re Sunnyside Timber, LLC, 413 B.R. 352, 363 (W.D. La. 2009) (citing Loan

Star Indus., Inc. v. Compania Naviera Perez Companc, Sudacia (In re N.Y. Trap Rock Corp.), 42

F.3d 747, 753 (2d Cir. 1994)). Not only has the collusion set the lender’s debt as the Falcon price,

the collusion blocks any potential bidder from working with the lender on an alternative bid. At

least under the stalking horse procedures a potential bidder had the chance to discuss an alternative

bid with the lender. Now that chance will be gone because Falcon will own the lender’s claim.

15.    By requesting that this Court approve bidding procedures that include Falcon’s assigned

credit bid rights, the Debtors seek Court countenance of this collusion. This Court should reject

the Sales Motion on this basis alone.

16.    Further, the lender has not filed the necessary Rule 3001(e) form indicating that its claim

has been transferred to Falcon. Page 14 of the Sales Motion provides that the “Claims Assignment

Agreement” will be filed prior to the hearing on the Motion. Such a filing (which has not yet

occurred) would not satisfy the requisites of Bankruptcy Rule 3001(e). Yet again, the Debtors

have filed a motion based on an important document that is not to be filed until just before the

hearing.




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The Debtors Attempt to Effectively Obtain Releases Through the Sales Motion

17.    The Sales Agreement provides that all claims and causes of action of the estate are to be

transferred to Falcon. This provision surely benefits Mr. Orgeron and his family members who

worked for the Debtors. In 2013, Mr. Orgeron took $20,000,000 from MOI and signed a note in

its favor. Despite its dire financial condition, MOI never called the note in default and never

sought to collect the note. The note clearly left MOI without adequate capital. Before piercing

the veil, alter ego claims and breach of fiduciary duty claims surrounding these facts are sold with

no value being ascribed thereto, the creditors have the right to know the full facts relating to

potential claims and the amounts involved. These assets have never been marketed and are not

being marketed. Further, the officers of MOC and MOI which approved the Black Elk contract

and the administration of the contract appear to have been, at best, grossly negligent. What

potential claims does the Debtor have against its officers and directors and other parties as a result

of the Black Elk contract disaster which caused its bankruptcy?           Also, based on financial

documents recently produced by the Debtors, prior to the bankruptcy Mr. Orgeron had a salary in

excess of $900,000 annually, a Colorado home on the books of the Debtor, excessive rent paid to

a family trust that owned the Debtors’ office in Louisiana, among other items. These avoidance

actions will be lost if the Sales Motion is approved. By converting the Plan (where releases of

such claims were impermissible) into the Sale Motion (where such claims are being sold along

with the vessels for a price less than that ascribed to the vessels alone in the Joint Venture

Agreement), Mr. Orgeron is seeking an effective release of these claims. At a minimum, these

claims should not be sold.

Sub Rose Plan




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18.     In re Braniff Airways, Inc., 700 F.2d 935 (5th Cir. 1983) the Fifth Circuit reversed a sale

order under section 363(b) because the transaction established a sub rosa plan. Here, the Debtors

have converted their Plan into a section 363 motion. In re Braniff Airways, Inc. clearly requires

denial of the Sales Motion in this case.

Jurisdiction to Discharge Maritime Liens

19.    The issue of bankruptcy court jurisdiction to discharge maritime liens is not settled and

remains an open question. See In re Millennium Seacarriers, Inc., 419 F.3d 83, 94 (2d Cir. 2005).

Alliance maintains its position that this Court does not have jurisdiction to discharge and release

maritime liens in a section 363 sale.

20.    Alliance is aware of this Court’s position on its jurisdiction to discharge maritime liens.

Nonetheless, Alliance respectfully submits that even if this Court is correct as to its jurisdiction, a

section 363 sale that discharges maritime liens should clearly provide the same sort of notice and

protections afforded the parties in maritime sales under 46 USC §31326. Clearly in this case this

proposed sales process does not comport with due process.

Options from Here

21.    Since the Debtors’ recent appraisals show that its vessels are worth $246,310,000 and the

secured debt is approximately $132,000,000 (and the lender has already stipulated that it is

oversecured), Chapter 11 options remain. Alliance represents to the Court that it has been

requested by certain constituents in this case to make a DIP loan (to replace the existing DIP loan)

and to consider sponsoring a plan. Alliance is seriously considering this option and requests that

it be provided an opportunity to propose terms to the creditors in this case.

22.    Based on what has occurred in this case, Alliance also submits that a Chapter 11 Trustee

would be helpful to ensuring that the Debtors maximize the estate. A Chapter 11 Trustee could



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properly engage in a marketing process or consider a creditor reorganization. A Chapter 7

liquidation would be preferable to the existing Sales Motion which ensures that the trade creditors

of MOI receive nothing.

23.    Finally, Alliance requests that this Court review the objections filed to the Debtors’ Plan

by Alliance and others. Most of the objections centered on 1) a lack of information, including a

lack of projected recoveries to creditors, projections of revenue for Falcon, and the secured lender’s

ability to sweep available cash; 2) Mr. Orgeron’s or MOI’s ability to dilute or re-direct funds that

would otherwise be available to creditors; 3) Mr. Orgeron’s insistence that MOI’s obligations to

make distributions to creditors lapse after certain time periods and that his equity share in the

distributions prior to creditors being paid; and 4) Mr. Orgeron’s insistence that he be released.

These issues did not directly impact the lender or Seacor—these issues could have been addressed

by Mr. Orgeron if he had chosen to do so. Clearly Mr. Orgeron had no interest in negotiating such

terms with the creditors—he refused to make any attempt to address the objections and instead

authorized the Debtor to file the Sales Motion. Mr. Orgeron could not possibly have been acting

in the best interests of the estate. While the Plan did have other structural issues, the most

important issues were lack of disclosure and Mr. Orgeron’s failure to recognize that equity falls

below creditors in the priority scheme of the Bankruptcy Code.

24.    Mr. Orgeron should be compelled to work for the best interests of the estate and sacrifice

his personal benefits for the creditors.

       WHEREFORE, Alliance Energy Services, LLC and Alliance Offshore, LLC pray that

this Court deny the Sales Motion, appoint a Chapter 11 Trustee, and/or take such other action as

this Court deems appropriate under the circumstances and section 105 of the Bankruptcy Code.




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         Dated: December 1, 2017.

                                             Respectfully submitted,

                                             CARVER, DARDEN, KORETZKY, TESSIER
                                             FINN, BLOSSMAN & AREAUX, L.L.C.

                                             /s/ David F. Waguespack
                                             DAVID F. WAGUESPACK
                                             La. Bar Roll No. 21121
                                             Appearing Pro Hac Vice [Doc. 85]
                                             waguespack@carverdarden.com
                                             BRANDON T. DARDEN
                                             State Bar No. 24075614
                                             Fed. ID No. 1339565
                                             bdarden@carverdarden.com
                                             1100 Poydras Street, Suite 3100
                                             New Orleans, Louisiana 70163
                                             Telephone: (504) 585-3814
                                             Fax: (504) 585-3801

                                             Attorneys for Alliance Energy Services, LLC and
                                             Alliance Offshore, LLC



                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on December 1, 2017, a true and correct copy of this document

was filed with the Court using the CM/ECF System, which provided electronic notice to all parties

in the bankruptcy case requesting such notice.



                                             /s/ Brandon T. Darden
                                             BRANDON T. DARDEN
4820-0866-6455, v. 1




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